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                      EXHIBIT B
                      Designations
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                                    December 15, 2023 Deposition of Jeffrey Dane1
                                        In re AmeriFirst Financial, Inc., et al.
                                      Case No. 23-11240 (TMH) (Bankr. D. Del.)


                           Debtors’ Initial Designations2         Committee’s Initial Designations3

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    At this time, neither the Debtors nor the Committee have objected to any designations or submitted counter-designations. Both the
    Debtor and Committee reserve the right to submit counter-designations at or before the hearing on the Standing Motion.
    Additionally, all objections made during the December 15, 2023 deposition of Jeffrey Dane are reserved and must be interposed at
    the hearing on the Standing Motion.
2
    Highlighted in blue.
3
    Highlighted in yellow.
